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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

TYSHIK-KEE WILLIAMS,                        :   CIVIL ACTION NO. 1:20-CV-95
                                            :
                    Petitioner              :   (Judge Conner)
                                            :
             v.                             :
                                            :
WARDEN OF ALLENWOOD USP,                    :
                                            :
                    Respondent              :

                                       ORDER

      AND NOW, this 15th day of October, 2021, upon consideration of the petition

(Doc. 1) for writ of habeas corpus, and the parties’ respective briefs in support of

and opposition to said motion, and for the reasons set forth in the accompanying

memorandum, it is hereby ORDERED that:

      1.     The petition (Doc. 1) for writ of habeas corpus is DENIED with
             prejudice.

      2.     The Clerk of Court is DIRECTED to close this case.


                                        /S/ CHRISTOPHER C. CONNER
                                        Christopher C. Conner
                                        United States District Judge
                                        Middle District of Pennsylvania
